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                     UNITED STATES COURT OF APPEALS                         FILED
                            FOR THE NINTH CIRCUIT                            JUL 28 2017
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
VIRGINIA DUNCAN; et al.,                          No.    17-56081

                 Plaintiffs-Appellees,            D.C. No.
                                                  3:17-cv-01017-BEN-JLB
  v.                                              Southern District of California,
                                                  San Diego
XAVIER BECERRA, in his official capacity
as Attorney General of the State of      ORDER
California,

                 Defendant-Appellant.

       The appeal filed July 27, 2017 is a preliminary injunction appeal.

Accordingly, Ninth Circuit Rule 3-3 shall apply.

       The mediation questionnaire is due three days after the date of this order.

       If they have not already done so, within 7 calendar days after the filing date

of this order, the parties shall make arrangements to obtain from the court reporter

an official transcript of proceedings in the district court that will be included in the

record on appeal.

       The briefing schedule shall proceed as follows: the opening brief and

excerpts of record are due not later than August 24, 2017; the answering brief is

due September 21, 2017 or 28 days after service of the opening brief, whichever is

earlier; and the optional reply brief is due within 21 days after service of the

answering brief. See 9th Cir. R. 3-3(b).

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      The parties are reminded that streamlined requests for extensions of time are

not available in preliminary injunction appeals. See

http://www.ca9.uscourts.gov/content/view.php?pk_id=0000000638. Any request

for an extension of time must be requested under Ninth Circuit Rule 31-2.2(b).

      Failure to file timely the opening brief shall result in the automatic dismissal

of this appeal by the Clerk for failure to prosecute. See 9th Cir. R. 42-1.




                                                  FOR THE COURT:

                                                  MOLLY C. DWYER
                                                  CLERK OF COURT


                                                  By: Katherine Milton
                                                  Deputy Clerk
                                                  Ninth Circuit Rule 27-7




KAM/MOATT                                 2                                    17-56081
